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    14
    15                 IN THE UNITED STATES DISTRICT COURT
    16              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
    17
         KFX MEDICAL CORPORATION, a            ) Case No. 11cv1698 DMS (BLM)
    18                                         )
         Delaware corporation,                 ) REPLY MEMORANDUM IN
    19
              Plaintiff and Counterdefendant, )) SUPPORT OF PLAINTIFF’S
    20
              v.                               ) MOTION
                                                 JUDGMENT
                                                           TO AMEND THE
                                                               AND MAKE
                                               ) ADDITIONAL      FINDINGS
    21                                         )
         ARTHREX, INCORPORATED, a              )
    22   Delaware corporation,                 ) Date: January 31, 2014
                                                 Time: 1:30 p.m.
    23        Defendant and Counterclaimant. )) Courtroom 13A
                                               ) Honorable Dana M. Sabraw
    24                                        )
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    26
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     1                                     I. INTRODUCTION
     2          Arthrex did not oppose two points in KFx’s motion: (1) that KFx is
     3   entitled to $1,891,706 in damages based on Arthrex’s relevant sales from July 1,
     4   2013 through September 30, 2013, and (2) that KFx is entitled to post-judgment
     5   interest at the statutory rate.
     6          As to the other points, Arthrex initially argues that pre-judgment interest
     7   should be assessed at the statutory post-judgment T-bill rate. The argument is
     8   premised on the misapplication of a Ninth Circuit standard, which does not
     9   apply in this patent case. Even applying that standard, however, the California
    10   statutory rate of 7% is justified here based on the costs KFx incurred in
    11   borrowing and raising capital during the infringement period.
    12          Arthrex next opposes any on-going royalty, or alternatively contends the
    13   rate should decrease over time. Arthrex has not halted the infringement that its
    14   actions have caused. After training a huge number of surgeons to perform
    15   SutureBridge and SpeedBridge procedures in an infringing manner and creating
    16   what it referred to as a “mania,” Arthrex’s limited remedial actions have been
    17   insufficient to prevent continued infringement. An on-going royalty, at least
    18   starting at the rate set by the jury, is appropriate if Arthrex is to continue
    19   promoting SutureBridge and SpeedBridge.
    20          Finally, Arthrex opposes entry of an injunction even if no on-going
    21   royalty is awarded. Infringement will continue if Arthrex continues to market
    22   SpeedBridge and SutureBridge to the universe of surgeons trained to preform
    23   those procedures in an infringing manner.        In arguing an alleged lack of
    24   irreparable harm, Arthrex ignores that KFx only seeks an injunction in the
    25   absence of an on-going royalty.        Thus, by definition, KFx would not be
    26   receiving adequate monetary damages for the continued infringement.
    27   ///
    28   ///
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     1                                   II. ARGUMENT
     2   A.     The Court Should Award Prejudgment Interest at the California
     3          Statutory Rate of 7%
     4          Arthrex is mistaken when it relies on a presumption in the Ninth Circuit
     5   that the statutory post-judgment T-Bill rate should be used to calculate pre-
     6   judgment interest.    This is a patent case, and a patentee’s entitlement to
     7   damages, including interest, is governed by the patent law. See 35 U.S.C. §284.
     8   And the Federal Circuit has repeatedly held that when determining prejudgment
     9   interest under the patent law, the district court has wide discretion to set an
    10   interest rate. See Lam, Inc. v. Johns-Manville Corp., 718 F.2d 1056, 1066 (Fed.
    11   Cir. 1983) (“Under section 284, the district court has discretion to award
    12   prejudgment interest and the amount of that award.”); see also Bio-Rad Labs. v.
    13   Nicolet Instr. Corp., 807 F.2d 964, 969 (Fed. Cir. 1986) (“The rate of
    14   prejudgment interest . . . are matters left largely to the discretion of the district
    15   court.”) Indeed, in the seven patent cases that KFx cited in which the courts
    16   used the California rate (Memo. at 3-4), the courts never followed a Ninth
    17   Circuit presumption that the T-Bill rate applies.
    18          Arthrex cites to one district court case, Accentra Inc. v. Staples, Inc., 851
    19   F.Supp.2d 1205, 1241 (C.D. Cal 2011), which does hold that Ninth Circuit law
    20   applies to prejudgment interest in a patent case. In reaching this conclusion,
    21   however, the court misapplied Transmatic, Inc. v. Gulton Indus., Inc., 180 F.3d
    22   1343 (Fed Cir. 1999). Transmatic merely held that regional circuit law applies
    23   to determine “the correct dividing line for calculating pre- and postjudgment
    24   interest.”   Transmatic, 180 F.3d at 1347-48.        Indeed, in Medical Instr. &
    25   Diagnostic Corp. v. Elektra AB, 2002 U.S. Dist. LEXIS 26812, *29 (S.D. Cal.
    26   September 6, 2002), a case cited by Arthrex and decided after Transmatic, this
    27   Court held that it “has found no rule requiring the [Ninth Circuit rule regarding
    28   prejudgment interest] when dealing with patent cases . . . .” Further, after
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     1   Transmatic, the Federal Circuit has cited to Bio-Rad and reiterated that the
     2   district courts have discretion to set a prejudgment interest rate. See Electro
     3   Scientific Indus., Inc. v. General Scanning Inc., 247 F.3d 1341, 1354 (Fed. Cir.
     4   2001).
     5         Moreover, even if there were a presumption in favor of the T-Bill rate, the
     6   presumption would be rebutted here.       Arthrex does not dispute that, when
     7   infringement began, (1) KFx was paying 13% interest on $1.9 million of an
     8   outstanding loan, (2) KFx could not borrow additional funds even at 13%, and
     9   (3) KFx was forced to raise over $19 million at an effective rate much higher
    10   than the California statutory rate of 7%. Arthrex also does not dispute that KFx
    11   could have paid down its $1.9 million loan and would not have needed to raise
    12   additional capital if Arthrex had licensed KFx’s patents. These facts, supported
    13   by the declarations from Messrs. Scott and Tibbitts explaining the amount, time
    14   period, and cost of debt that KFx maintained or acquired after infringement
    15   began, distinguish this case from those Arthrex cites in which the presumption
    16   was not rebutted. See Scott Decl. ¶¶ 6-14; Tibbitts Decl. ¶¶ 8-20.
    17         For all of these reasons, KFx should be awarded prejudgment interest at
    18   the California statutory rate of 7%, which is a conservative and equitable rate
    19   given KFx’s much greater borrowing rates.
    20   B.    An On-Going Royalty Should Be Awarded To Compensate KFx For
    21         Continued Infringement
    22         1.     Arthrex’s Modified Activities Do Not Avoid Future
    23                Infringement
    24         As the jury found, Arthrex promoted SutureBridge and SpeedBridge
    25   methods that infringe KFx’s patents. These methods included the claimed steps
    26   of inserting the lateral anchor, tensioning the suture to get the correct
    27   compression of the tissue to the bone, and then fixedly securing the suture to the
    28   lateral anchor without tying knots. Arthrex actively promoted the advantages of
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     1   performing these procedures in this infringing manner.         See, e.g., Ex. 482
     2   (“pearl”); Ex. 510 (explaining how pre-tensioning of sutures leads to anchor
     3   pullout); Ex. 539 (Dr. Millett’s video explaining that tensioning after insertion
     4   was “really important”); see also Ticker Decl. ¶¶ 5, 6; Tr. at 325:16–326:7.1
     5         Arthrex modified its promotional activities following the verdict. As of
     6   the filing of KFx’s motion, the apparent changes were little more than posting
     7   modified technique guides and the removal of instructional videos from the
     8   Arthrex website. These changes certainly would have little effect on surgeons
     9   who have been using the infringing method for years.
    10         Arthrex has now come forward with evidence that it has made additional
    11   modifications of its practices and plans to do further. But consistent with
    12   Arthrex’s view that the patented method was a “pearl” and that pre-tensioning
    13   of sutures led to anchor pullout, Arthrex’s promotion of a modification to the
    14   techniques has been subtle.        More specifically, Arthrex still uses the
    15   SpeedBridge and SutureBridge brands and has not made any affirmative
    16   communication specifically alerting surgeons that the techniques have been
    17   changed and the surgeons should now change what they had been doing.
    18         For example, according to Arthrex, Drs. Millett and Burkhart have each
    19   performed SpeedBridge surgical demonstrations in which they did not tension
    20   sutures after inserting the lateral anchors. Opp. at 6. This does not suggest
    21   surgeons should change their practices learned over the last several years. Dr.
    22   Hanypsiak also states, “Since October 1, 2013, approximately 500 surgeons
    23   have been instructed to perform these techniques by only tensioning the suture
    24   with the eyelet outside the hole.” Hanypsiak Decl. ¶ 6. The circumstances of
    25   this instruction are not explained at all so it is unclear whether this was any
    26
               1
    27            All numbered exhibits are admitted trial exhibits. The cited trial
         transcript pages have been previously submitted with the Declaration of Brian C.
    28   Horne.

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     1   different than a demonstration such as done by Drs. Millett and Burkhart where
     2   the “pearl” of tensioning the suture after inserting the anchor was simply
     3   omitted.2
     4         Moreover, absent specific instructions to change what they are doing, as
     5   well as a reason to do so, a surgeon trained and comfortable using the Arthrex
     6   products, e.g. SpeedBridge kits, in an infringing manner would have no reason
     7   to consult promotional materials and learn a new method. Arthrex’s actions
     8   since the judgment are not sufficient to cause the huge base of surgeons
     9   previously trained to perform SpeedBridge and SutureBridge procedures to
    10   change overnight and adopt a non-infringing method.
    11         This case is therefore much like Smith & Nephew v. Synthes (U.S.A.), 466
    12   F. Supp. 2d 978, 986-89 (W.D. Tenn. 2006), where the district court found that
    13   “[m]erely modifying the instructional materials will not undo the years of
    14   infringement” and doctors who have used the products for years in an infringing
    15   manner are not likely to stop infringing based on modified instructions.
    16   Arthrex’s attempt to distinguish Smith & Nephew based on the extent to which
    17   the infringing step was required is unavailing. Opp. at 10. In Smith & Nephew,
    18   the step that led to infringement was “not always essential and can be achieved
    19   in a variety of ways.” Smith & Nephew, 466 F. Supp. 2d at 989. Arthrex argues
    20   the same facts are present here. And a modification of instructional materials
    21   here is even less likely to undo years of infringement because Arthrex has long
    22   taught that the step that leads to infringement is the best way to perform the
    23   method. See, e.g., Ex. 482, 510, 539; see also Ticker Decl. ¶¶ 5, 6; Tr. at
    24   325:16–326:7. Further, the infringing method is particularly important when
    25   using Arthrex’s self-punching anchors. See Ticker Decl. ¶ 10.
    26
               2
    27           Further, all of Arthrex declarations are deficient because they were not
         subscribed as true as required by 28 U.S.C. §1746, which KFx presumes was an
    28   oversight that ought to be corrected.

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     1         2.     The Inconsistent Guides And Materials Will Lead To Future
     2                Infringement
     3         As KFx explained in its opening brief, Arthrex’s revised guides are
     4   internally inconsistent and thus would not be perceived by surgeons to suggest
     5   they should change from the infringing method. Memo. at 10-11. For example,
     6   the new guides state that a self-punching anchor may be used in either a
     7   SpeedBridge (infringing double row) or SpeedFix (non-accused single row).
     8   The guides then show the anchor’s use in the single row procedure. Ex. 6144 at
     9   ARTH_1257955.        That use is consistent with the “pearl” that led to the
    10   infringement here, i.e., intentionally leaving extra slack in sutures during
    11   insertion of the anchor and then tensioning the sutures after insertion. Arthrex
    12   claims it has no obligation to change how it promotes its single-row technique
    13   in these guides. Opp. at 11. That might be so if Arthrex were writing on a clean
    14   slate. But it is not. Arthrex has induced infringement for years with the
    15   SpeedBridge procedure. And the inconsistency in how these closely related
    16   “Speed” techniques are promoted within the same guide shows that Arthrex is
    17   not sending a clear message that will avoid future infringement.
    18         The message of the revised guides is not likely an accident. For all the
    19   reasons Dr. Ticker explained, Arthrex would not want to suggest that self-
    20   punching anchors should be removed if suture tension is not right. Ticker Decl.
    21   ¶ 10. So even though the single-row SpeedFix procedure is not infringing, the
    22   manner in which it is promoted in the same guide with the related double-row
    23   SpeedBridge procedure will lead to continued infringement. Because this Court
    24   has the authority to require modifications of even permissible activities to
    25   ensure effectual relief, see Unites States v. Loew’s Inc., 371 U.S. 38, 53 (1962),
    26   overruled in part, on other grounds, by Ill. Tool Works Inc. v. Indep. Ink. Inc.,
    27   547 U.S. 28, 126 S. Ct. 1281 (2006), it certainly can award a royalty where such
    28   permissible activities will lead to future infringement.
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     1         3.     Dr. Millett’s Demonstration Had A Very Limited Audience
     2                And Did Not Promote Any Changes To SpeedBridge
     3         Arthrex’s recent activities have not been as extensive as suggested.
     4   Arthrex notes that the November AANA conference “was attended by
     5   approximately 800 surgeons,” see Opp. at 6, Sodeika Decl. ¶ 8, but Arthrex did
     6   not mention that Dr. Millett’s breakout session was limited to no more than 20
     7   attendees. Second Scott Decl., Ex. P. Moreover, the description of Dr. Millett’s
     8   presentation does not suggest anything about a change to the previously taught
     9   SpeedBridge technique, but is focused on “using a new collagen fibertape”
    10   suture. Id. at 15.
    11         In sum, Arthrex’s modified practices since the verdict in this case would,
    12   at most, justify an on-going royalty that decreased over time as Arthrex
    13   suggests. Opp. at 14-15. The modified practices are insufficient to prevent
    14   future infringement.    KFx is entitled to compensation for that continued
    15   infringement caused by Arthrex. Accordingly, KFx respectfully requests that
    16   the Court award an on-going royalty starting (for the last quarter of 2013) at the
    17   rate awarded by the jury. 3 Because Arthrex has promised additional changes,
    18   see, e.g., Hanypisak Decl. ¶¶4-7, KFx appreciates the difficulty the Court would
    19   have in determining how the rate should taper in the future in view of possible
    20   future changes. Accordingly, KFx suggests the Court order the parties to first
    21   negotiate how the rate should taper going forward. If the parties could not
    22   agree, only then would the Court have to issue a further ruling as to an on-going
    23   royalty. This would be consistent with the Federal Circuit’s recommended
    24   negotiate-first approach in connection with on-going royalties generally. See
    25   Paice LLC v. Toyota Motor Corp., 504 F.3d 1293, 1315 (Fed. Cir. 2007).
    26
               3
    27           Arthrex suggests, without support, that KFx’s determination of the rate
         is wrong. As explained in KFx’s motion, the rate accounts for any dispute
    28   regarding the rate or base. Memo. at 13-14.

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     1   C.    An Injunction Should Be Entered Absent An On-Going Royalty
     2         1.    An Injunction Is Necessary To Prevent Uncompensated
     3               Infringement
     4         Arthrex initially argues that no injunction should issue because it is no
     5   longer inducing infringement and has taken all possible steps to avoid future
     6   infringement.   But, as described above, infringement will continue despite
     7   Arthrex’s modified practices. Moreover, even if the infringement had been
     8   discontinued, that would not suffice to avoid an injunction to prevent future
     9   infringement. “[T]he fact that the defendant has stopped infringing is generally
    10   not a reason for denying an injunction against future infringement unless the
    11   evidence is very persuasive that further infringement will not take place.” W.L.
    12   Gore & Assocs., Inc. v. Garlock, Inc., 842 F.2d 1275, 1281-82 (Fed. Cir. 1988)
    13   (emphasis added) (concluding that the district court abused its discretion in
    14   refusing to enter an injunction where, among other things, the infringer did not
    15   demonstrate that it had no intention of resuming its infringing activities and
    16   lacked the capacity to make the infringing product); see also Mass Engineered
    17   Design, Inc. v. Ergotron, Inc., 633 F. Supp. 2d 361, 394 (E.D. Tex. 2009).
    18         2.    An Injunction Should Bar Further Use Of The Brands Used To
    19               Promote Infringement
    20         In opposing an injunction barring use of the SpeedBridge and
    21   SutureBridge brands, Arthrex cannot distinguish this case from Braintree Labs.,
    22   Inc. v. Nephro-Tech, Inc., 81 F. Supp. 2d 1122, 1138 (D. Kan. 2000), aff'd, 15 F.
    23   App'x 799 (Fed. Cir. 2001). The district court there reasonably ordered the
    24   defendant to change the name of the infringing product because that name was
    25   associated with an infringing use and those in the medical community had
    26   become accustomed to using the product in an infringing manner. Id. at 1137-
    27   38. That is precisely the case here, as Arthrex has extensively promoted its
    28   brands and the “pearls” of using its branded techniques in an infringing manner.
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     1   See, e.g., Ex. 482 (“pearl”); Ex. 510 (explaining how pre-tensioning of sutures
     2   leads to anchor pullout); Ex. 539 (Dr. Millett’s video explaining that tensioning
     3   after insertion was “really important”); see also Ticker Decl. ¶¶ 5, 6; Tr. at
     4   325:16–326:7. Without a change in the name, surgeons would have no reason
     5   to relearn, for example, a non-infringing method of doing a SpeedBridge.
     6         Arthrex attempts to distinguish Braintree based on a footnote in the
     7   district court’s opinion explaining that the suggestive nature of the product
     8   name was an “additional reason” to order the name change. See Braintree
     9   Labs., 81 F. Supp. 2d at 1138, n. 8; Opp. at 9. Granted, the names here may not
    10   be as suggestive of the infringement in the abstract, but here the surgeons have
    11   been taught for years to do the procedures in an infringing manner. Arthrex has
    12   created the connection between infringement and the brands. Ticker Decl. ¶¶ 4,
    13   6. It will enjoy the benefits of continued infringement if it is not forced to
    14   change the brand name and create a different association in the medical
    15   community. Accordingly, absent an on-going royalty, an injunction should be
    16   entered requiring a change in the SutureBridge and SpeedBridge brand names.
    17         3.     Irreparable Harm Exists Absent Monetary Damages
    18         Arthrex next argues that no injunction should issue based on the alleged
    19   lack of irreparable harm and cites cases where monetary damages, i.e., an on-
    20   going royalty, would adequately compensate the patentee. See Opp. at 17 citing
    21   ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1340
    22   (Fed. Cir. 2012) (patentee “can be adequately compensated by on-going
    23   royalty”); Fractus, S.A. v. Samsung Electronics Co., Ltd., 876 F. Supp. 2d 802,
    24   854 (E.D. Tex. 2012) (severing the on-going royalty determination to allow the
    25   parties to negotiate the royalty before the court sets it).4 This argument misses
    26
               4
    27           Arthrex also cites other cases on the irreparable harm point that are
         wholly irrelevant for other reasons. See Opp. at 17 citing Robert Bosch, LLC v.
    28   Pylon Mfg. Corp., 659 F.3d 1142, 1151 (Fed. Cir. 2010) (reversing district
         court’s denial of an injunction); Cordance Corp. v. Amazon.com., Inc., 730 F.
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     1   the point. KFx only requests an injunction in the event the Court declines to
     2   award an on-going royalty. Thus, KFx’s request for an injunction is premised
     3   on the assumption that it is not receiving adequate compensation for continued
     4   infringement.
     5         4.     The Alleged Delay Does Not Justify Denial Of An Injunction
     6         Arthrex next argues that KFx’s supposed delayed enforcement of its
     7   patent after issuance and its failure to seek a preliminary injunction in this case
     8   warrant the denial of a permanent injunction after a finding of infringement.
     9   Arthrex cites no relevant authority. PGBA, LLC v. United States, 389 F.3d
    10   1219, 1229-1231 (Fed. Cir. 2004), for example, merely held that the Court of
    11   Claims did not abuse its discretion in refusing to set aside a government contract
    12   award based upon a host of reasons justifying the denial of the injunction. And
    13   in Apple, Inc. v. Samsung Electronics Co., Ltd., 678 F.3d 1314, 1325 (Fed. Cir.
    14   2012), the Federal Circuit addressed the denial of a preliminary injunction
    15   based, in part, on a patent owner’s delay in seeking preliminary relief, which
    16   plainly involves a much different irreparable harm analysis.
    17         Finally, KFx did not unreasonably delay enforcement of its patent. KFx
    18   was a small company that faced widespread infringement of its patent and also
    19   fended off reexamination at the PTO before promptly choosing to enforce the
    20   patent against Arthrex, the largest infringer in the marketplace.
    21                                 III. CONCLUSION
    22         For the forgoing reasons, KFx respectfully requests that the Court grant
    23   its motion as described herein.
    24   ///
    25   ///
    26
    27   Supp. 2d 333, 339 (D. Del. 2010) (refusing to award an on-going royalty after
         liability was determined in a bifurcated case where damages had not yet been
    28   determined).
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